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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

JOHN AMBLER and STACY                  CV 23-151-M-DLC-KLD
AMBLER,

                   Plaintiffs,
                                            PLAINTIFFS’ COMBINED
            vs.                              RESPONSE OPPOSING
                                              DEFENDANT’S AND
FLATHEAD CONSERVATION                    INTERVENOR’S MOTIONS FOR
DISTRICT,                                    SUMMARY JUDGMENT

                   Defendant,

and

FRIENDS OF MONTANA STREAMS
AND RIVERS

                  Intervenor.




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                                   INTRODUCTION

       Defendant’s and Intervenor’s assertion contradict prior decisions from this

Court and settled and binding precedent from the Ninth Circuit Court of Appeal

and the United States Supreme Court. This is a fundamental and fatal flaw in their

positions. Another such flaw is that their confusion of law regarding ownership of

property within Glacier National Park with law governing state versus federal

jurisdiction over that property.

       The Ninth Circuit Court of Appeals has already determined that private

inholdings within Glacier are subject to the State of Montana’s cession of

jurisdiction and the United States’ acceptance of the same. This is consistent with

Ninth Circuit precedent regarding jurisdiction and similar decisions of other

circuits.

       Defendant’s and Intervenor’s position would require this Court to redraw the

jurisdictional boundaries of Glacier National Park into a checkerboard omitting all

private inholdings. Their positions ignore federal regulations governing

construction on private inholdings in Glacier and ignore prior decisions from this

Court and binding precedent from the Ninth Circuit Court of Appeal and the

United States Supreme Court. For these reasons, this Court should deny their

motions for summary judgment.




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                                   ARGUMENT

I.    Private inholdings in Glacier National Park are subject to Montana’s
      cession of jurisdiction and the United States’ acceptance of the same.

      The argument of Defendant and Intervenor that private inholdings are not

subject to Montana’s cession of jurisdiction to the United States is dependent upon

a misinterpretation of the following language from the federal statute establishing

the boundaries of Glacier National Park (the “Glacier Park Act”):

      Provided, That nothing herein contained shall affect any valid existing
      claim, location, or entry existing under the land laws of the United
      States [before May 11, 1910] or the rights of any such claimant,
      locator, or entryman to the full use and enjoyment of his land.

16 U.S.C. § 161

      Defendant and Intervenor assert that the foregoing language means that

private inholdings were never included within Glacier National Park and therefore

could not be subject to the cession by the State of Montana and acceptance by the

United States of jurisdiction over lands within Glacier. That is incorrect.

      This Court has already considered the foregoing language from the Glacier

Park Act and determined its purpose and effect:

      The clear intent of the provision was to ensure that the creation of
      Glacier National Park did not extinguish existing homestead entries
      within the boundaries of the Park that had not yet been perfected.

McFarland v. Kempthorne, 464 F. Supp. 2d 1014, 1024 (D. Mont. 2006), affd., 545

F.3d 1106 (9th Cir. 2008). This Court recognized that this interpretation is


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supported by the National Park Service’s long-standing interpretation that the

purpose and intent of provision is not to remove private inholdings from the

jurisdictional boundaries of Glacier, but rather:

      is to clarify that the establishment of the park did not nullify the right
      for holders of unpatented claims and homesteads to receive patent to
      their claimed lands. Furthermore, they can continue to use these lands
      even though patent had not yet been granted. It does not limit the
      authority of the National Park Service to acquire lands within the park
      boundaries or the right to regulate land use.

Id., 464 F. Supp. 2d at1025. This Court further recognized that “[t]his

interpretation is consistent with the plain language of the Glacier Park Act,” and

that longstanding agency interpretations of statutes administered by the agency are

entitled to deference. Id (citing Chevron U.S.A., Inc. v. Natural Res. Def. Council,

Inc., 467 U.S. 837, 842-43 (1984)).

      This is not the only agency interpretation that recognizes state cession of

jurisdiction over private inholdings in national parks. Department of Interior

regulations specifically govern construction and other activities on privately-

owned land within Glacier. See 36 CFR § 7.3 (b) and (c).

      Federal law regarding the boundaries of Yellowstone National Park also

provides:

      Nothing herein [16 USCS § 21a et seq.] contained shall affect any
      valid existing claim, location, or entry under the land laws of the
      United States, whether for homestead, mineral right of way, or any
      other purposes whatsoever, or shall affect the right of any such


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      claimant, locator, or entryman to the full use and enjoyment of his
      land.

16 U.S.C. § 21d (enacted in 1929). Regardless, the Department of Interior

determined that the federal government has the authority to prohibit hunting on

privately-owned lands in the State of Montana included within the area added to

the Yellowstone National Park by the President’s proclamation of October 20,

1932. 54 Interior Dec. 122 (1932).

      The Act describing the boundaries of Kings Canyon National Park provides

even more broadly “[t]hat nothing in this Act shall be construed to affect or abridge

any right acquired by any citizen of the United States in the above-described area.”

16 U.S.C. § 80 (enacted in 1940). In spite of this statutory language, the Ninth

Circuit found that “California and the United States were intending by the statutes

of cession and acceptance to accomplish unified policing of privately owned and

public lands within the park boundaries for the public good in administering the

National Park.” Petersen v. United States, 191 F.2d 154, 156 (9th Cir. 1951), cert.

denied sub nom. State of California v. United States, 342 U.S. 885 (1951). This is

a recognition of the public policy favoring federal jurisdiction as opposed to the

patchwork of regulation and confusion that would ensue under the position

advocated by Defendant and Intervenor.

      The Glacier Park Act, like the acts describing the boundaries of Yellowstone

and Kings Canyon, contains disclaimer language that the Act does not affect
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existing claims to ownership of property within the park boundaries. The Ninth

Circuit in Petersen recognized that the issue of jurisdiction is different and

independent from the issue of ownership and is instead governed “by the statutes

of cession and acceptance.”

        The language of the Montana law ceding Glacier National Park states in

part:

        Exclusive jurisdiction shall be and the same is hereby ceded to the
        United States over and within all the territory which is now or may
        hereafter be included in that tract of land in the state of Montana set
        aside by the act of congress, approved May 11, 1910, for the purposes
        of a national park, and known and designated as “The Glacier national
        park” . . .

Mont. Code Ann. § 2-1-205.

        This is almost identical to the language in the California statute ceding

Kings Canyon National Park, which the Ninth Circuit held included a cession of

jurisdiction over privately-owned land within the park: “Exclusive jurisdiction

shall be and the same is hereby ceded to the United States over and within all of

the territory which is now or may hereafter be included in those several tracts of

land in the State of California set aside and dedicated for park purposes by the

United States as 'Kings Canyon National Park' . . .” Petersen, 191 F.2d at 156 n.1.

        Defendant and Intervenor acknowledge that the Ninth Circuit has held that

that “the territory embraced within the Glacier National Park . . . includes not only

the public lands dedicated to park purposes by the United States but all privately
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owned lands within the described park boundaries.” Macomber v. Bose, 401 F.2d

545, 547 (9th Cir. 1968) (citing Petersen). But, they assert that this was a mistake

because the opinion failed to consider that the disclaimer language in 16 U.S.C. §

161 excluded private inholdings from the effect of Montana’s cession statute,

Mont. Code Ann. § 2-1-205, and the United States’ acceptance statute, 16 U.S.C. §

163. See Doc. 30, pp. 6-8; Doc. 33, pp. 8-12. This assertion is patently incorrect.

      The analysis in Macomber did not ignore or misconstrue the effect of 16

U.S.C. § 161 or fail to consider its place in the overall statutory scheme. The

Ninth Circuit did address the meaning and purpose of 16 USCS § 161, stating that

it withdrew federal land within the described boundaries from further settlement

and location subject to the disclaimer language relied on by Defendant and

Intervenor, which is quoted in a footnote. Macomber, 401 F.2d at 546 and n.1.

The Ninth Circuit’s understanding of 16 USCS § 161 was echoed by this Court in

McFarland (464 F. Supp. 2d at 1024). The disclaimer language in 16 USCS § 161

does not exclude existing private property from Glacier’s boundaries, it simply

puts a stop to the acquisition of new private property rights on federal land within

Glacier’s boundaries.

      Macomber also recognized that 16 USCS § 161 does not address

jurisdiction, because that is instead addressed by Mont. Code Ann. § 2-1-205 and

16 U.S.C. § 163, which the Ninth Circuit interpreted to include the cession and


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acceptance of jurisdiction over private inholdings. 401 F.2d at 546. Other circuit

courts concurred when considering language similar to the jurisidctional statutes at

issue here. See Free Enter. Canoe Renters Ass'n v. Watt, 711 F.2d 852, 856 (8th

Cir. 1983) (observing that the phrase “within the boundaries” “incorporate[s]

federal, state, and private land, and . . . makes no distinction on the basis of

ownership”); and United States v. Stephenson, 29 F.3d 162, 164 (4th Cir. 1995)

(holding that the language “within the limits of said Park” refers to “the statutory

boundaries of the Park established by Congress, not to property ownership lines”).

      None of the cases cited by the Defendant or Intervenor should dissuade the

Court from following the precedent set by McFarland, Petersen and Macomber.

There is no dispute that Glacier National Park is within Montana and State ex rel.

State Bd. of Equalization v. Glacier Park Co., 118 Mont. 205, 207-08, 164 P.2d

366, 367-68 (1945), merely recognizes that “Montana ceded to the United States

exclusive jurisdiction over the territory then or thereafter to be included in Glacier

National Park, with certain reservations including “the right to tax persons and

corporations, their franchises, and property, on the lands included in said park.”

That reservation is why Glacier Park Company and the Amblers are obligated to

pay taxes on their operations and property within Glacier.

      Intervenor’s quote from James v. Dravo Contracting Co., 302 U.S. 134,

141-42 (1937), is inapplicable to property within Glacier, where that same


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paragraph goes on to recognizes that where there is a cession of jurisdiction by the

state, the terms of the cession govern the extent of federal jurisdiction. Colorado v.

Toll, 268 U.S. 228, 230-31 (1925), addresses a statute that reserves the State of

Colorado’s rights in roadways within a park, does not address the disclaimer or

reservation language at issue here, and does not support the proposition for which

it is cited. The court in Defs. of Wildlife v. Everson, 984 F.3d 918, 947 (10th Cir.

2020), does not strike down the National Park Service’s assertion of jurisdiction

over hunting or private inholdings but, rather, upholds the Park Service’s authority

and jurisdiction to decide whether or not impose a hunting regulation on private

inholdings within Teton National Park.

      For the above reasons, the Ambler Property and other inholdings within

Glacier National Park were not excluded from the jurisdictional boundaries of the

Park and jurisdiction over them was subject to cession and acceptance statutes.

Therefore, the Defendant’s and Intervenor’s motions for summary judgment

should be denied.

II.   Montana’s Natural Stream and Land Preservation Act does not apply to
      private land within Glacier National Park.

      In 1911, the State of Montana ceded and, in 1914, the United States accepted

exclusive jurisdiction over all land within Glacier National Park subject to only the

specific reservations of State jurisdiction articulated in the statutes ceding and

accepting jurisdiction. Mont. Code Ann. § 2-1-205; 16 U.S.C. § 163. The FCD is
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a governmental subdivision of the State of Montana first created in 1939 and

charged in part with issuing 310 permits and administration in Flathead County of

the Montana Natural Streambed and Land Preservation Act of 1975, Mont. Code

Ann. § 75-7-101 et seq., (hereinafter the “NSLPA”). However, it is settled law that

state laws enacted after the state cedes jurisdiction over a national park to the

federal government do not apply to private properties located within the national

park.

        When there is a question of jurisdiction within state ceded land, courts look

to the plain language of the cession to determine the extent of federal versus

jurisdiction. United States v. Unzeuta, 281 U.S. 138, 142 (1930) (the terms of the

cession, “to the extent that they may lawfully be prescribed, determine the extent

of the federal jurisdiction”). At the time of an express act ceding land from a state

to the federal government the state may, as a condition to the cession, reserve

concurrent jurisdiction so long as the reservation is consistent with the purpose of

the cession. A “cession may be accompanied with any conditions not inconsistent

with the effective use of the property for the public purposes intended.” Chi., R. I.

& P. R. Co. v. McGlinn, 114 U.S. 542, 545-46 (1885); Unzueta, 281 U.S. at 142

(“when, in such cases, a state cedes jurisdiction to the United States, the state may

impose conditions which are not inconsistent with the carrying out of the purpose

of the acquisition”).


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      Montana law is consistent on this point. Mont. Code Ann. § 2-1-201.

However, neither the state nor its political subdivisions can later impose conditions

not contemplated by the parties at the time of the cession. The US Supreme Court

in Unzueta recognized that, “after this jurisdiction had been accepted by the United

States, it could not be recaptured by the action of the State alone, and hence that an

act of the legislature of Nebraska, passed in 1889, seeking to amend the act of

cession was not effective…” Unzueta, 281 U.S. at 143 (emphasis added).

      The Court, in Arlington Hotel Company v. Fant, 278 U.S. 439, 445 (1929),

addressed a privately owned hotel located in Hot Springs National Park in

Arkansas. The hotel burned down and its owners sought protection under a later-

enacted Arkansas law relieving innkeepers from liability to their guests for loss of

fire. Id. at 445 – 46. However, the Court again held that because the state law was

enacted after cession, it did not apply. Id. at 446.

      The Ninth Circuit Court of Appeals specifically addressed state versus

federal jurisdiction as to the portion of Yellowstone National Park located in

Montana in Yellowstone Park Transp. Co. v. Gallatin County, 31 F.2d 644 (9th

Cir. 1929). The court held that the Yellowstone cession statute, Mont. Code Ann.

§ 2-1-207, unlike the Glacier statute, did not reserve to the State of Montana the

right to tax people or property within the park. The court rejected Gallatin

County’s attempt to impose taxes on a private company operating in Yellowstone,


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because the State did not reserve that right at the time of the cession and could not

later extend its jurisdiction to impose taxes in the park, stating: “[i]n other words,

after the date of cession, the ceded territory was as much without the jurisdiction of

the state making the cession as was any other foreign territory, except in so far as

jurisdiction was expressly reserved.” Id., at 645 (citing Arlington, 279 U.S. 439)

(emphasis added). Because the state of Montana failed to reserve the right to tax

people or property within Yellowstone, “taxing laws of the state of Montana are

wholly inoperative in that portion of the Yellowstone National Park within the

territorial limits of the state.” Id. Again, Montana law is consistent on this point,

excepting from state jurisdiction portions of the state in which exclusive

jurisdiction was ceded to the United States. Mont. Code Ann. § 2-1-102.

      a. Preemption analysis and the Montana Attorney General Opinion
         regarding application of the NSLPA to federal land do not apply to
         private land within Glacier National Park.

      Defendant wrongly encourages this Court to apply a preemption analysis

based on the Supremacy Clause in the United States Constitution and two Montana

Attorney General opinions. Doc. 30, pp. 15-19. However, the Yellowstone,

Unzueta and Arlington cases, supra, make it clear that preemption analysis does

not apply in the context of express state and federal laws ceding and accepting

jurisdiction over lands within national parks. Preemption analysis is applicable to




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situations where state and federal regulations may both apply but conflict. That is

not the situation here.

      When read together, the two Montana Attorney General opinions also

support a conclusion that preemption analysis is inapplicable here. The 1977 AG’s

Opinion addresses the application of the NLSPA on federal land outside of the

national parks. Mont. Att’y Gen. Op. 37-15 (Mar. 24, 1977). It does not address

jurisdiction in Glacier National Park, Mont. Code Ann. § 2-1-205, 16 U.S.C. § 163,

or any of the cases above.

      The 1980 Attorney General opinion and cases cited therein make it clear that

the foregoing does not apply. Mont. Att’y Gen. Op. 38-64 (Jan. 28, 1980). The

opinion recognizes, like the cases above, that when the federal government obtains

jurisdiction by cession, the state can reserve concurrent jurisdiction provided the

that reserved jurisdiction does not conflict with the purpose of the acquisition. Id.,

p. 226 (citing James, 302 U.S. at 146). The opinion also recognizes that Montana

law is the same. Id. (citing State ex rel. Parker v. District Court of Eighth Judicial

Dist., 147 Mont. 151, 410 P.2d 459 (1966).

      The Montana Supreme Court recognizes that preemption analysis does not

apply in this context and concurrent jurisdiction only exists in Glacier and

Yellowstone national parks to the extent that the State reserved jurisdiction at the

time of the cession and that it was consistent with the purpose of the cession. State


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ex rel. Parker, 147 Mont. at 153, 410 P.2d at 460; State v. Rindal, 146 Mont. 64,

69, 404 P.2d 327, 330 (1965). Even if preemption analysis did apply (it does not),

the federal government occupies the field because it expressly regulates

construction within Glacier, including construction on private inholdings. See 36

C.F.R. 5.7; 36 C.F.R. 7.3.

      b. The NSLPA is not “assimilated” with respect to private land within
         Glacier National Park.

      Intervenor asserts that in addition to state laws or jurisdiction reserved in

cession statutes, other Montana laws, both current and future, are assimilated into

federal laws governing property in Glacier. Doc. 33, pp. 13-15. A review of the

applicable cases show this is incorrect because assimilation applies only to state

laws governing private rights and only applies to state laws in effect at the time of

the cession.

      As stated by the United State Supreme Court:

      It is now settled that the jurisdiction acquired from a state by the
      United States whether by consent to the purchase or by cession may
      be qualified in accordance with agreements reached by the respective
      governments. The Constitution does not command that every vestige
      of the laws of the former sovereignty must vanish. On the contrary its
      language has long been interpreted so as to permit the continuance
      until abrogated of those rules existing at the time of the surrender of
      sovereignty which govern the rights of the occupants of the territory
      transferred. This assures that no area however small will be left
      without a developed legal system for private rights.




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James Stewart & Co. v. Sadrakula, 309 U.S. 94, 99-100 (1940) (internal footnotes

omitted) (emphasis added). The Court was clear that “only the law in effect at the

time of the transfer of jurisdiction continues in force, future statutes of the state are

not a part of the body of laws in the ceded area.” Id., 309 U.S. at 100.

      The Ninth Circuit specifically applied the ruling from James Stewart & Co.

to Glacier National Park, stating:

      By this cession and acceptance, federal authority became the only
      authority operating within the ceded area. State law theretofore
      applicable within the area was assimilated as federal law, to remain in
      effect until changed by Congress. Rights arising under such
      assimilated law, arise under federal law and are properly the subject of
      federal jurisdiction.

Macomber, 401 F.2d at 546 (internal citations omitted) (emphasis added).

      The NSLPA does not apply because it was not in effect at the time of

Glacier’s cession. Moreover, there is no “regulatory void” with respect

construction of private residences on inholdings in Glacier. See 36 CFR § 7.3 (b)

and (c). These regulations do not support a finding of concurrent jurisdiction but

instead show the federal government exercising its exclusive jurisdiction over

construction on inholdings by deciding which Montana laws or regulations it will

apply and, by omission, which it will not. These regulations would be meaningless

if all Montana laws and regulations applied to construction on private inholdings in

Glacier.



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      The Defendant’s and Intervenor’s attempt to enforce the public rights

provided for in the NSLPA is distinguishable from the private rights enforced by

this Court in Howard v. Todd, No. CV 22-55-M-DWM, 2022 U.S. Dist. LEXIS

65012 (D. Mont. Apr. 7, 2022) (resolving a private dispute between co-owners of

private property in Glacier by applying Montana’s Uniform Partition of Heirs

Property Act, Mont. Code Ann. § 70-29-401 et seq.). Howard is not binding

precedent and federal versus state jurisdiction was clearly not a primary issue in

that case, as it was addressed only in footnote. Id., at *8 n.2.

      These cases also make it clear that any assimilated state law becomes federal

law subject to federal jurisdiction. Therefore, even if the NSLPA was applicable

within Glacier National Park (it is not), jurisdiction to determine whether or not

there was a violation of that Act and to enforce its provisions would rest with

federal government, its agencies, and the federal courts, not the FCD.

      Intervenor asserts that future state laws are also assimilated. This is

incorrect. Intervenor acknowledges that 63 P.L.177 applies only to criminal

offenses and is no longer a part of 16 U.S.C. § 163. Doc 33, p. 13, n. 3. The new

statute, 18 U.S.C. § 13, applies only to those geographical locations specified in 18

U.S.C. § 7. National parks are not included in 18 U.S.C. § 7, so 18 U.S.C. § 13

does not apply there. See United States v. Woods, 450 F. Supp. 1335, 1336 n.1 (D.

Md. 1978).


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      Again, Defendant and Intervenor advocate for an outcome that directly

conflicts with binding precedent from the United State Supreme Court and the

Ninth Circuit Court of Appeals which is on point and clearly applicable to this

case. This Court should deny the motions for Defendant’s and Intervenor’s

motions for summary judgment.

                                 CONCLUSION

      The Amblers respectfully request that this Court deny the Defendant’s and

Intervenor’s motions for summary judgment because the NSLPA does not apply

within and the FCD has no jurisdiction or authority within Glacier National Park.

      DATED this 24th day of June, 2024.

                                DATSOPOULOS, MacDONALD & LIND, P.C.

                                By:   /s/ Trent Baker
                                      Trent Baker
                                      J.R. Casillas

                                Attorneys for Plaintiffs




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                       CERTIFICATE OF COMPLIANCE


      I certify under Local Rule 7.1(d)(2)(E) that this brief is double-spaced, has a

proportionally-spaced typeface of 14 points, and contains 3797 words of text,

excluding the caption, certificate of compliance, and any table of contents and

authorities, exhibit index, and any certificate of service.

      DATED this 24th day of June, 2024.

                                  DATSOPOULOS, MacDONALD & LIND, P.C.

                                  By:   /s/ Trent Baker
                                        Trent Baker
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                                  Attorneys for Plaintiffs




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